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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

SARNOFF CORPORATION,                                   Civil Action No. 08-

                          Plaintiff,

         v.
                                                                    COMPLAINT
HOYOS GROUP, HOYOS, INC., GLOBAL
RAINMAKER, INC., HECTOR HOYOS, AND
KEITH HANNA.
                                                             JURY TRIAL DEMANDED
                          Defendants.


                   Plaintiff Sarnoff Corporation (“Sarnoff”) by and through its counsel, Lowenstein

Sandler PC, by way of Complaint against Defendants Hoyos Group, Hoyos, Inc., Global

Rainmaker, Inc., Hector Hoyos, and Keith Hanna (collectively, the “Defendants”), alleges and

avers as follows:


                                       NATURE OF THE ACTION
                   1.     This is a civil action for a declaratory judgment of non-infringement of

intellectual property, and to remedy acts of (1) breach of contract, (2) breach of duty of loyalty,

(3) misappropriation of trade secrets, (4) tortious interference with prospective economic

advantage, (5) conversion, (6) false designation of origin, (7) false advertising, (8) unfair

competition, (9) unjust enrichment, and (10) fraud, arising under federal, state, and common law.

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                2.     For over four years, Hector Hoyos (“Hoyos”) and his various companies,

Hoyos Group, Hoyos, Inc., and Global Rainmaker, Inc. (“GRI”) (collectively, the “Hoyos

Companies”), served as limited agents of Sarnoff, engaged solely to help market and sell certain

technology designed, developed, and manufactured exclusively by Sarnoff.            Keith Hanna

(“Hanna”), a former long-time, key technical employee of Sarnoff, was hired by Hoyos after

resigning from Sarnoff, and assisted Hoyos in such marketing efforts.

                3.     As agents of Sarnoff—and, in the case of Hanna, as an employee of

Sarnoff—Defendants were privy to and had access to certain highly confidential and proprietary

information of Sarnoff.

                4.     Instead of using Sarnoff’s confidential and proprietary information to

market Sarnoff’s technology—as they had been hired to do—Defendants have impermissibly

used the confidential and proprietary information to launch their own competing product and

interfere with and stifle Sarnoff’s prospective business relations.


                                             PARTIES
                5.     Sarnoff is a corporation organized and existing under the laws of the State

of New Jersey, with its principal place of business at 201 Washington Road, Princeton, New

Jersey 08540.

                6.     Upon information and belief, Hoyos Group is a corporation organized and

existing under the laws of Puerto Rico, with its principal place of business at Popular Center

Building, 209 Munoz Rivera Avenue, 18th Floor, San Juan, Puerto Rico 00918, and a New York

office located at 10 East 53rd Street, 33rd Floor, New York, New York 10022. Hoyos Group is

transacting and doing business within this judicial district, is committing the acts complained of




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herein within this judicial district, and is subject to the jurisdiction of this Court pursuant to the

laws of the State of New Jersey and Rule 4 of the Federal Rules of Civil Procedure.

               7.      Upon information and belief, Hoyos, Inc. is a corporation organized and

existing under the laws of Puerto Rico, with its principal place of business at Popular Center

Building, 209 Munoz Rivera Avenue, 18th Floor, San Juan, Puerto Rico 00918, and a New York

office located at 10 East 53rd Street, 33rd Floor, New York, New York 10022. Hoyos, Inc. is

transacting and doing business within this judicial district, is committing the acts complained of

herein within this judicial district, and is subject to the jurisdiction of this Court pursuant to the

laws of the State of New Jersey and Rule 4 of the Federal Rules of Civil Procedure.

               8.      Upon information and belief, GRI is an affiliate of Hoyos Group and is a

corporation organized and existing under the laws of Puerto Rico, with its principal place of

business at Popular Center Building, 209 Munoz Rivera Avenue, 18th Floor, San Juan, Puerto

Rico 00918, and a New York office located at 10 East 53rd Street, 33rd Floor, New York, New

York 10022. GRI is transacting and doing business within this judicial district, is committing the

acts complained of herein within this judicial district, and is subject to the jurisdiction of this

Court pursuant to the laws of the State of New Jersey and Rule 4 of the Federal Rules of Civil

Procedure.

               9.      Upon information and belief, Hoyos is an individual citizen of the United

States and the Commonwealth of Puerto Rico. Hoyos is the Chief Executive Officer of the

Hoyos Companies and is transacting and doing business within this judicial district, is

committing the acts complained of herein within this judicial district, and is subject to the

jurisdiction of this Court pursuant to the laws of the State of New Jersey and Rule 4 of the

Federal Rules of Civil Procedure.


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                 10.    Upon information and belief, Hanna is an individual citizen of England

and a permanent resident of the State of New Jersey. Hanna is a former employee of Sarnoff and

the current Chief Scientist of the Hoyos Group. He is transacting and doing business within this

judicial district, is committing the acts complained of herein within this judicial district, and is

subject to the jurisdiction of this Court pursuant to the laws of the State of New Jersey and Rule

4 of the Federal Rules of Civil Procedure.


                                 JURISDICTION AND VENUE
                 11.    This action arises under the Declaratory Judgments Act, 28 U.S.C. §§

2201, et seq.; the Copyright Laws of the United States, 17 U.S.C. §§ 101, et seq.; and under

related and other laws of the State of New Jersey, both statutory and common law. This Court

has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338(a), 1367, and 2201. In addition, this Court

has pendent jurisdiction over the related state claims.

                 12.    This Court has personal jurisdiction over the Defendants, because they do

business in this District.

                 13.    Venue is proper in the District of New Jersey pursuant to 28 U.S.C. §

1391(b)(2), because a substantial part of the events giving rise to Sarnoff’s claims occurred in

this District.


                                  FACTUAL BACKGROUND

I.      Sarnoff’s Iris Recognition Technology
                 14.    In today’s tumultuous sociopolitical climate, reliable and efficient identity

verification has become a critical necessity. Over the last decade, biometric identification—

based on characteristics such as a person’s fingerprints, retinas, irises, facial patterns, and gait—

has emerged as the leading solution to meet the demand for increased security.


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               15.      For over sixty years, Sarnoff has been a world leader in research and

development, taking innovative ideas and transforming them into valuable and marketable

commercial solutions.

               16.      Using its highly advanced sensing, vision, and optics technology, Sarnoff

has made tremendous advances in iris recognition, identification, and authentication, creating its

first ground-breaking iris recognition system in 1995.

               17.      In July 2004, building upon its iris recognition technology, Sarnoff

developed its innovative “Iris on the Move”™ system (“IOM System”), a bundled biometric iris

image capture system consisting of proprietary software, hardware, designs, databases,

algorithms, processes, trade secrets, and know-how.

               18.      Hanna, who had been an employee of Sarnoff since January 1990, was

intimately involved in Sarnoff’s research and development efforts with respect to iris recognition

technology. Accordingly, he was privy to Sarnoff’s confidential and proprietary information.

               19.      As a condition of his employment at Sarnoff, Hanna signed an Employee

Patent and Computer Software Agreement on January 3, 1990, which specified, among other

things, that all inventions that Hanna created within and during the scope of his employment

belonged to Sarnoff, and that upon his termination or resignation, he would return to Sarnoff, not

use, and not disclose the confidential information he received during his employment.

               20.      Sarnoff is the owner of the following five patent applications relating to its

iris recognition technology: Serial Number 10/939,943 (“Method and Apparatus for Performing

IRIS Recognition from an Image”); Serial Number 11/334,968 (“Method and Apparatus for

Providing Strobed Image Capture”); Serial Number 11/364,300 (“Method and Apparatus for




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Designing IRIS Biometric Systems for use in Minimally Constrained Settings”); Serial Number

11/377,042 (“Method and Apparatus for Obtaining Iris Biometric Information from a Moving

Subject”); and Serial Number 60/841,768 (“IOM Door Configuration (or Method and Apparatus

for Iris Biometrics Above an Entryway using IOM Technology)).”

               21.     The IOM System is capable of quickly, efficiently, and seamlessly

identifying numerous people as they walk through a portal or entranceway, using Sarnoff’s iris

recognition technology. With fewer constraints on users than any other iris recognition system,

Sarnoff’s IOM system is able to identify up to twenty moving subjects per minute, making it

particularly useful for expediting security screening at large facilities such as airports,

government buildings, and power plants.


II.    Sarnoff Engages Defendants to Help Market and Sell Its Iris Recognition Systems

               22.     In or around August 2002, Sarnoff and Hoyos Group began to discuss the

possibility of Sarnoff’s retaining Hoyos Group to help market and sell Sarnoff’s iris recognition

systems. As detailed below, over the course of the next several years, Sarnoff and the Hoyos

Companies entered into a series of agreements with respect to Sarnoff’s iris recognition

technology, including the IOM System.

               23.     As they first began to discuss this possible business relationship, both

parties recognized that Sarnoff would need to provide to the Hoyos Companies certain

proprietary technical and financial information, including confidential trade secrets, hardware,

software, know how, designs, copyrights, patent applications, source code, and other proprietary

intellectual property (the “Proprietary Information”).




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               24.     In order to protect and preserve Sarnoff’s Proprietary Information, on

October 8, 2002, Sarnoff and Hoyos Group entered into a Confidential Disclosure Agreement

governing Hoyos Group’s use and disclosure of the Proprietary Information (the “2002 CDA”).

               25.     Under the 2002 CDA, Hoyos Group was permitted to use the Proprietary

Information “solely for the purpose of evaluations of mutual business opportunities unless

otherwise agreed in writing between the parties.” In addition, the 2002 CDA specified that “[a]ll

materials containing Proprietary Information delivered by [Sarnoff] under this Agreement are

and will remain the property of [Sarnoff].” Under the terms of the 2002 CDA, these obligations

applied only to information that Sarnoff disclosed to Hoyos Group prior to October 2003.

               26.     Over the course of the next several years, the parties amended and

extended the 2002 CDA several times to govern disclosures made by Sarnoff after October 2003.

The latest amendment, which was signed on October 7, 2005, extended the CDA until October 7,

2006 (the “October 2005 CDA”).

               27.     On April 4, 2005, Hanna resigned from Sarnoff. As part of his separation

from Sarnoff, Hanna signed an Employee Termination Statement, which reiterated Hanna’s

contractual obligations contained in the Employee Patent and Computer Software Agreement. In

the Employee Termination Statement, Hanna acknowledged, among other things, his “obligation

not to disclose to others or use confidential information of Sarnoff Corporation or its clients that

[he] acquired, received, or originated during [his] employment period.” In addition, Hanna

acknowledged that he was required to (a) return to Sarnoff all confidential materials, and (b)

disclose and assign to Sarnoff all inventions or other intellectual property that he was obligated

to disclose and assign in accordance with the terms of his Employee Patent and Computer

Software Agreement.



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               28.    Upon information and belief, after resigning from Sarnoff, Hanna

immediately accepted a position as Chief Scientist at Hoyos Group, focusing primarily, if not

exclusively, on biometrics and iris recognition technology.

               29.    In the spring of 2005, representatives from Sarnoff met with General

Electric Corporation (“GE”) to discuss Sarnoff’s IOM System.            During the meeting, GE

expressed interest in the technology, but stated that the IOM System, in its current configuration,

was not what GE needed at the time.

               30.    In September 2005, representatives from Sarnoff presented the IOM

System at the Biometric Commission Consortium in Washington, D.C. At this conference, a

host of companies, including LG and Honeywell, expressed interest in Sarnoff’s IOM System.

L-1 Identity Solutions, Inc. (“L-1”) also expressed significant interest, and offered Sarnoff five

million dollars for the rights to the IOM System.

               31.    In or around October 2005, Hoyos learned of L-1’s offer and informed

Sarnoff that he could sell the IOM System for at least twenty million dollars.

               32.    Sarnoff, which was understandably interested in maximizing the selling

price of its IOM System, entered into an engagement letter with Hoyos, Inc. on October 24, 2005

whereby Hoyos, Inc. agreed to act as Sarnoff’s non-exclusive agent to explore the sale of the

assets relating to the IOM System to the Thales Group (the “Thales Agreement”).

               33.    Pursuant to the Thales Agreement, Hoyos, Inc. was permitted to “hold

itself out only as a limited agent of Sarnoff.” In addition, the Thales Agreement expressly

provided that “[n]o licenses are granted or implied by either party to the other pursuant to this

Agreement,” and “[d]uring the term hereof and for a period of five (5) years thereafter, each




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party shall maintain the confidentiality of any confidential information received by it from the

other party.”

                34.   Pursuant to a letter dated November 4, 2005, Sarnoff and Hoyos, Inc.

terminated the Thales Agreement.

                35.   On the same day, Sarnoff and GRI entered into an agency agreement very

similar to the Thales Agreement. Under the new agreement, GRI was to serve as Sarnoff’s non-

exclusive agent to explore the sale of the assets relating to the IOM System to the Thales Group,

GE, and GE’s wholly-owned subsidiaries (the “Thales/GE Agreement”).

                36.   As in the Thales Agreement, the Thales/GE Agreement restricted GRI to

hold itself out only as a “limited agent” of Sarnoff, imposed mutual confidentiality obligations

on the parties, and expressly stated that no licenses were granted or implied pursuant to the

agreement.

                37.   On December 12, 2005, Sarnoff and GRI entered into another agency

agreement whereby GRI was to serve as Sarnoff’s non-exclusive agent to explore the sale of the

assets relating to the IOM System to Pegasus Capital Advisors, L.P. (the “Pegasus Agreement”).

                38.   As in the Thales Agreement and the Thales/GE Agreement, the Pegasus

Agreement restricted GRI to hold itself out only as a “limited agent” of Sarnoff, imposed mutual

confidentiality obligations on the parties, and expressly stated that no licenses were granted or

implied pursuant to the agreement.

                39.   On December 20, 2005, Sarnoff, GRI, Pegasus Partners III, L.P.

(“Pegasus”), and Pericles Capital Partners, LLC entered into a Confidential Disclosure

Agreement (the “December 2005 CDA”) governing the use and disclosure of the parties’




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“Proprietary Information,” which was defined as “all technical and/or business information

relating to Iris on the Move. . . .”

               40.     As was the case with the 2002 CDA, the December 2005 CDA permitted

the parties to use the Proprietary Information “solely for the purpose of evaluations of mutual

business opportunities unless otherwise agreed in writing between the parties.” In addition, the

December 2005 CDA specified that “[n]o license, ownership interest, or other right to use

Proprietary Information of the other party is conveyed, implied or otherwise created by this

Agreement . . . .”

III.   Sarnoff’s Development of “Iris at a Distance” and the “Tier-2 Product”

               41.     In or about February 2006, Sarnoff developed marketing materials for the

IOM System, including a modular IOM System.

               42.     On February 15, 2006, Vincent Endres, Sarnoff’s Vice President of

Portfolio and Corporate Development, sent an e-mail to representatives from Pegasus, stating

that another company had expressed interest in purchasing Sarnoff’s assets related to the IOM

System, and that the potential buyer would be performing due diligence in the near future.

               43.     Acting in its role as Sarnoff’s non-exclusive agent, GRI scheduled a

meeting for April 17, 2006 between Sarnoff and the potential buyer, GE Security. Hanna, who

was then working at Hoyos Group, assisted in setting up the meeting.

               44.     In an email immediately prior to the meeting, Hanna informed Sarnoff that

“GE’s interest is in integrating IOM into their airport EntryScan portal. . . . Our objective is to

have [Andy Bulkley, a product manager from GE Security,] go away thinking that it is

technically possible, after some relatively low-risk integration work.”




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                  45.    At the April 17, 2006 meeting, Sarnoff demonstrated Sarnoff’s modular

IOM System to GE Security. During the meeting, Sarnoff discussed GE’s interest in integrating

Sarnoff’s technology into GE’s airport EntryScan portal, including the concept of installing

Sarnoff’s IOM System around the portal, which resembled a doorway, in a way that would

eliminate the need for computers at the point of capturing the irises.

                  46.    On April 21, 2006, Hanna sent Endres and Ray Kolczynski, a Senior

Program Manager at Sarnoff, a presentation that summarized the concepts that Sarnoff had

proposed during the April 17th meeting. The presentation provided a broad overview of Sarnoff’s

IOM System and discussed the advantages of iris authentication over other forms of biometric

identification.

                  47.    On April 28, 2006, Bulkley e-mailed Hanna a preliminary concept

drawing of the IOM System at a door, which documented the concepts that Sarnoff had

presented during the April 17th demonstration.

                  48.    Over the course of the next week, Hanna, who continued to function as a

limited agent of Sarnoff, worked with several Sarnoff representatives and Bulkley to describe in

greater detail Sarnoff’s plans for integrating its IOM System into an over-the-door system to be

used with GE’s portal.

                  49.    For example, on May 1, 2006, Hanna sent Kolczynski some broad design

considerations, which he asked Kolczynski to review before Hanna modified the April 21st

presentation.

                  50.    After conferring with Kolczynski and other Sarnoff representatives on the

detailed technical issues, Hanna updated Bulkley’s April 28th presentation with the Sarnoff

Proprietary Information that he had received from Sarnoff. In the revised presentation, Hanna




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broadly outlined Sarnoff’s concept for an over-the-door system, how Sarnoff envisioned the

system would operate, and the process by which the IOM System would be connected to GE’s

iris database and iris capture board. Hanna e-mailed this presentation to Bulkley and Kolczynski

on May 2, 2006.

               51.     On May 8, 2006, after again conferring with Sarnoff engineers and

receiving additional Sarnoff Proprietary Information, Hanna sent Bulkley and Kolczynski a

slightly revised and updated presentation of how Sarnoff planned to integrate its IOM System

into an over-the-door system.       The updated presentation included a “Product Roadmap

Summary” that outlined the three tiers of Sarnoff’s IOM System, with each tier representing a

different market segment. The second tier included a “doorway, walkup desk application.”

               52.     Over the course of the next several months, Sarnoff, at great cost and

expense, designed, built, and tested a prototype of its over-the-door system. This over-the-door

system, which was based on Sarnoff’s proprietary IOM technology, was known as “Iris at a

Distance” (“IAD”) or the “Tier-2 Product.”

               53.     On June 2, 2006, Thomas Zappia, a Sarnoff employee, created detailed

sketches of the Tier-2 Product.

               54.     On June 13, 2006, Endres wrote to Hanna, stating Sarnoff had received a

draft memorandum of understanding (“MOU”) from GE Security proposing a joint venture

between GE Security and Sarnoff for the development of the Tier-2 Product, and that Sarnoff

was ready to build and test a prototype unit.

               55.     Two days later, Kolczynski wrote to Hanna, indicating that Sarnoff had

made some important technical modifications to the Tier-2 Product, which enabled Sarnoff to




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run successful tests of the prototype unit. On the same day, Kolczynski sent Bulkley an email

informing him that Sarnoff successfully tested its prototype unit.

IV.    Defendants’ Attempts to Claim Ownership in Sarnoff’s Intellectual Property

               56.     On the eve of Sarnoff’s execution of the MOU with GE Security,

Defendants improperly injected themselves into the negotiations, claiming that they owned some

of the intellectual property embodied in the Tier-2 Product.

               57.     Specifically, on June 16, 2006, Hanna sent an e-mail to Endres with an

attachment that purported to be the intellectual property that Hoyos would contribute to the

proposed joint venture. Hanna wrote: “[W]e will transfer the IP to Sarnoff and then Sarnoff can

then just put it in the JV. . . . [W]e should also plan to show GE the Hoyos/Sarnoff agreement for

the IP in the near future. Since there is an expectation on the GE side of inclusion of Hoyos IP, I

should take a passive role on the Friday IP call.”

               58.     Neither GE Security nor Sarnoff had previously discussed or contemplated

including any of the Hoyos Companies as a party to the joint venture. In fact, all of the

agreements between Sarnoff and the Hoyos Companies clearly specified that the Hoyos

Companies were limited agents of Sarnoff, engaged solely to help market and sell Sarnoff’s IOM

System.

               59.     Endres responded to Hanna’s email on June 16th, reiterating that Hoyos

was hired by Sarnoff “to be an agent to sell IOM . . . [but] have since then gone into the

development of applications business using [Sarnoff’s] base technology [and] essentially have

become a competitor with no background license. You have engaged Sarnoff and are working

together with the technical team to use Sarnoff’s money and resources and then you submit

patent applications under your name.” Endres continued that “[m]ixing in old IP and specific




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application IP from Hoyos not only raises doubt in GE’s mind, but Sarnoff doesn’t even

understand and feels very slighted because this was thrown in by you at the last minute only to

gain [a] negotiation advantage.” Endres concluded that “Sarnoff does acknowledge the [Hoyos

Companies’] role in developing GE (as an agent role) and for leading the Tier-2 product concept,

but Sarnoff is the one doing the work and carrying the expense.”

                60.    In an e-mail also dated June 16, 2006, Hoyos responded to Endres,

conceding that he did file a patent application involving Sarnoff’s IOM System, but that “we will

gladly sign over this disclosure to Sarnoff at no cost whatsoever.” Notwithstanding the clear and

unequivocal language of the Thales Agreement, the Thales/GE Agreement, and the Pegasus

Agreement, each of which states that the Hoyos Companies were acting as “agents” for Sarnoff,

Hoyos claimed: “we are not simply an agent, we are much more. I am not going to go into [a]

detailed explanation, you all know what I mean. . . . I know how to make this joint [v]enture a

billion dollar business and this is why GE wants to do the deal and is why they want me in the

deal, but the time for when I make other people rich and I end up walking away with scraps is

over for me.”

                61.    On or about June 22 or 23, 2006, Zappia updated his sketches from June

2nd, with detailed technical specifications for the Tier-2 Product.

                62.    On June 23, 2006, Zappia again tested the prototype for the Tier-2

Product, which again functioned properly.

                63.    On or around June 26, 2006, GE Security, apparently concerned about

Defendants’ claims that the Hoyos Companies owned certain intellectual property related to

Sarnoff’s IOM technology, informed Sarnoff that it wanted to include the Hoyos Companies as a




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signatory to the joint venture MOU. On the same day, Endres sent Hoyos an e-mail expressing

his displeasure over this development and his skepticism that the deal would ever close.

               64.     Indeed, no joint venture was ever consummated, due, upon information

and belief, in large part to GE Security’s expressed concerns over the manner in which Hoyos

and the Hoyos Companies conduct business, and Defendants’ claims that the Hoyos Companies

owned certain intellectual property related to Sarnoff’s IOM technology.

               65.     On June 30, 2006, Zappia circulated to the Sarnoff IOM team a document

titled “IOM Door Configuration” (the “Tier-2 Configuration Report”), which described, in

precise details, the configuration and technical specifications for the Tier-2 Product, including an

in-depth comparison between Sarnoff’s existing portal IOM System and the new over-the-door

system.

               66.     Over the course of the next two months, Sarnoff continued to test and

refine the Tier-2 Product, making incremental, yet significant technical improvements.

               67.     On August 9, 2006, Hanna wrote to several Sarnoff employees regarding

an upcoming demo of the Tier-2 Product, explicitly referring to it as the “Zappia V2 unit.”

Similarly, on August 17, 2006, Hoyos wrote to several Sarnoff and GE Security representatives

about the Tier-2 Product, describing it as a product that “stems from the same [IOM] System.”

               68.     On September 1, 2006, Sarnoff filed a provisional patent application for

the Tier-2 Product, titled “Method and Apparatus for Iris Biometrics Above an Entryway Using

IOM Technology.” The provisional application stated that the invention was conceived on June

26, 2006, and that the inventor was Zappia.

               69.     On September 6, 2006, Endres sent an e-mail to Hoyos, informing him

that Sarnoff would not be renewing any of the expired agent agreements with the Hoyos




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Companies, writing: “With your insistence that you have some claim to our intellectual property

and designs to the Iris-on-the-move [and] your representations to major corporations that you

own something[,] Sarnoff cannot go forward with any business arrangement. . . . [Y]ou

obviously want [to] compete with Sarnoff using Sarnoff owned intellectual property and

confidential information and that behavior will not be tolerated…. Our goals are no longer

aligned and you are considered a competitor. You are not authorized to use any Sarnoff

information, material, intellectual property, confidential knowledge in any shape or form.”

               70.    On the same day, Hoyos Group, through its counsel, wrote to Sarnoff

claiming that Hoyos Group has “full ownership of all rights relating to the design of the Tier-2

Product which utilizes Iris on the Move (IOM) technology.”           In addition, Hoyos Group

emphasized that the “disclosure or use of any proprietary information relating to the Tier-2

design by Sarnoff is expressly prohibited,” threatening that Hoyos Group would “stand firm and

aggressively defend those rights.”

               71.    On September 19, 2006, Sarnoff, through its counsel, responded to Hoyos

Group’s September 6th letter, rejecting its claims as “meritless,” and emphasizing that “Sarnoff

is the sole and exclusive owner of the IOM technology and intellectual property, including

Sarnoff’s ‘over the door’ system.”      In addition, Sarnoff also (i) reiterated that all agent

agreements between the Hoyos Companies and Sarnoff were, by their own terms, no longer in

effect and would not be renewed; (ii) demanded that Hoyos return to Sarnoff all materials

incorporating Sarnoff Proprietary Information in accordance with the various confidentiality

agreements entered into by the parties; (iii) emphasized that pursuant to the various

confidentiality agreements, Hoyos and his employees and agents were not authorized to use or

disclose any Sarnoff Proprietary Information; (iv) noted that Hanna, pursuant to his Employee




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Termination Statement and his Employee Patent and Computer Software Agreement, was not

entitled to use or disclose Sarnoff Proprietary Information; and (v) demanded that Hoyos and his

employees cease and desist from contacting companies with which Sarnoff had prospective

business relations, as such communications were “undertaken with the intent of derailing a

potential transaction with Sarnoff.”

               72.     Defendants have nevertheless engaged, since at least late 2006, in a

pattern of deliberately interfering with Sarnoff’s prospective business relations. For example,

during December 2006 and January 2007, Defendants misinformed representatives of L-1, a

company to which Sarnoff was attempting to sell its IOM technology, that the Hoyos Companies

owned part of Sarnoff’s IOM technology, including the Tier-2 Product, and that a transaction

between Sarnoff and L-1 could not be completed without their participation.

               73.     The transaction between L-1 and Sarnoff, a deal valued at approximately

three million dollars, was never completed, due, at least in part, to the false representations made

by the Hoyos Companies.

               74.     Upon information and belief, the Hoyos Companies made these knowingly

false statements with the intent of sabotaging Sarnoff’s potential deal with L-1.

               75.     On February 23, 2007, counsel for Sarnoff advised the Hoyos Companies

that as a result of their false and improper statements to L-1, the proposed transaction between

L-1 and Sarnoff had not been completed. Sarnoff again demanded that the Hoyos Companies

“immediately cease and desist from continuing to make representations that they own or have

rights to [Sarnoff’s IOM technology and the intellectual property embedded therein, including

Sarnoff’s Tier-2 Product], and that they refrain from utilizing in any way any of Sarnoff’s

patents, trade secrets, confidential information, or other intellectual property.”




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               76.     On March 5, 2007, counsel for the Hoyos Companies wrote to Sarnoff’s

counsel, responding to Sarnoff’s February 23rd letter, claiming that the Hoyos Companies

designed the Tier-2 Product using their “own resources and ideas.” In addition, counsel for the

Hoyos Companies cautioned Sarnoff’s counsel to “please advise Sarnoff that it is expressly

prohibited from disclosing or using any proprietary information relating to the Tier-2 design or

any modification thereof.” (emphasis in original). Counsel for the Hoyos Companies also

emphasized that it expressly “reserve[d] all of its [clients’] rights against Sarnoff with respect to

any prohibited disclosures made by Sarnoff . . . .”

               77.     During the ISC West Show in Las Vegas from March 28-30, 2007, the

Hoyos Companies demonstrated what they publicly claimed to be their own version of an IOM

system, which they called the “H-Box.”

               78.     Upon information and belief, numerous participants and consumers at the

ISC West Show commented that the H-Box resembled Sarnoff’s IOM System. In fact, several

consumers stated that they believed the H-Box was a Sarnoff product.

               79.     Upon information and belief, the H-Box operates in a manner that is

substantially similar to Sarnoff’s IOM System.

               80.     The Hoyos Companies have designed, developed, manufactured,

marketed, advertised, offered for sale, and sold the H-Box without the knowledge or permission

of Sarnoff.

               81.     During the entire period that the Hoyos Companies’ served as limited

agents representation of Sarnoff, they had access to Sarnoff’s Proprietary Information relating to

the IOM System, the IAD System, and the Tier-2 Product, including, but not limited to, Sarnoff’s

(i) copyrighted software and design documents; (ii) trade secrets; and (iii) patent applications.




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The Hoyos Companies do not, nor have they ever had a license to use such Proprietary

Information for their own pecuniary gain.      In fact, pursuant to the various confidentiality

agreements and agent agreements entered into by the parties, the Hoyos Companies were

contractually obligated to maintain the confidentiality of this information and to refrain from

using it for their own advantage.

               82.     Upon information and belief, the H-Box improperly incorporates Sarnoff’s

Proprietary Information.

               83.     Given the substantial similarities between the two products, Sarnoff,

through its counsel, wrote to counsel for the Hoyos Companies on April 27, 2007, reminding him

that (i) over the years, the Hoyos Companies had been privy to Sarnoff’s Proprietary Information

regarding iris recognition research and development and the design, development, and operation

of Sarnoff’s IOM System; and (ii) the Hoyos Companies were not authorized to use Sarnoff’s

Proprietary Information for their own gain, especially to “design around” the claims in Sarnoff’s

patent applications.

               84.     The Hoyos Companies’ counsel responded on May 1, 2007, “categorically

denying” that (i) the Hoyos Companies used any of Sarnoff’s Proprietary Information in

developing the H-Box; (ii) the Hoyos Companies violated any agreement with Sarnoff; and (iii)

the H-Box infringed any Sarnoff technology.

               85.     Despite several demands for the Hoyos Companies to return to Sarnoff its

Proprietary Information, the Hoyos Companies have not returned any such information.

               86.     Similarly, despite repeated demands for the Hoyos Companies to refrain

from using the Proprietary Information, they continue to do so.




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               87.     Unless enjoined by this Court, the Hoyos Companies will continue their

course of conduct of wrongfully using, infringing upon, selling, and otherwise profiting from

Sarnoff’s Proprietary Information.

      FIRST COUNT – DECLARATORY JUDGMENT OF NONINFRINGEMENT
               88.     Sarnoff repeats and realleges the allegations set forth in Paragraphs 1

through 87 of this Complaint, as if set forth fully at length herein.

               89.     Upon information and belief, the Hoyos Companies are the owners of U.S.

Patent Applications Numbers 11/713,894 (“the ‘894 patent application”) and 11/559,381 (“the

‘381 patent application”), as well as other U.S. patents and patent applications.

               90.     Upon information and belief, the Hoyos Companies claim to be the

owners of various copyrights with respect to software, designs, and algorithms related to

Sarnoff’s Tier-2 Product (the “Hoyos Copyrights”).


               91.     The Hoyos Companies have stated to Sarnoff on a number of occasions,

including but not limited to their September 6, 2006 and March 5, 2007 letters, that (i) Sarnoff

has no rights in or to the Tier-2 Product, (ii) Sarnoff is prohibited from using or disclosing any

proprietary information related to the Tier-2 Product, and (iii) the Hoyos Companies will

aggressively defend and assert their rights in and to the Tier-2 Product.

               92.     The Hoyos Companies have stated in communications with L-1 and other

third parties, including potential customers of Sarnoff, that Sarnoff is not authorized to use the

Hoyos Companies’ intellectual property, which includes the ‘894 patent application, the ‘381

patent application, and the Hoyos Copyrights.

               93.     Sarnoff is continuing to make, use, sell, and offer for sale in the United

States its Tier-2 Product.



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               94.     The foregoing actions and statements of the Hoyos Companies, including

their September 6, 2006 and March 5, 2007 letters to Sarnoff and their statements to L-1 and

other third parties, leave Sarnoff in reasonable apprehension of suit for infringement under the

Hoyos Companies’ purported intellectual property portfolio, including the Hoyos Copyrights.

               95.     Sarnoff does not infringe any patents, copyrights, or other intellectual

property owned by the Hoyos Companies.

               96.     For the reasons noted above, Sarnoff is the sole and exclusive owner of the

IOM System, the IOM technology, and the Tier-2 Product, including all the intellectual property

embedded therein.

               97.     Accordingly, Sarnoff is entitled to a declaratory judgment of non-

infringement of any of the Hoyos Companies’ intellectual property.

                 SECOND COUNT - BREACH OF CONTRACT AGAINST
                      HOYOS AND THE HOYOS COMPANIES
               98.     Sarnoff repeats and realleges the allegations set forth in Paragraphs 1

through 97 of this Complaint, as if set forth fully at length herein.

               99.     Hoyos and the Hoyos Companies are parties to the following contracts

with Sarnoff, which although no longer in effect, contain confidentiality provisions that survive

their expiration or termination: the Thales/GE Agreement, the Pegasus Agreement, the October

2005 CDA, and the December 2005 CDA.

               100.    Hoyos and the Hoyos Companies breached the express terms of these

agreements by, among other things (i) using Sarnoff’s Proprietary Information without Sarnoff’s

knowledge or consent for their own pecuniary benefit and not for the limited purpose specified in

the agreements; and (ii) disclosing to third parties Sarnoff’s Proprietary Information without

Sarnoff’s knowledge or consent.


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               101.    Sarnoff has continued to honor its confidentiality obligations under the

various agreements in spite of the Hoyos Companies’ breaches.

               102.    As a direct and proximate result of Hoyos’ and the Hoyos Companies’

breaches of confidentiality and usage of Sarnoff’s Proprietary Information, Sarnoff has been and

will continue to be damaged unless and until this Court orders the Hoyos Companies specifically

to honor their confidentiality obligations under the various agreements.

             THIRD COUNT - BREACH OF CONTRACT AGAINST HANNA
               103.    Sarnoff repeats and realleges the allegations set forth in Paragraphs 1

through 102 of this Complaint, as if set forth fully at length herein.

               104.    Hanna is a party to the following contracts with Sarnoff: the Employee

Termination Statement and the Employee Patent and Computer Software Agreement, both of

which contain confidentiality provisions.

               105.    Hanna breached the express terms of these agreements by, among other

things (i) using Sarnoff’s Proprietary Information without Sarnoff’s knowledge or consent for his

own pecuniary benefit; and (ii) disclosing to third parties Sarnoff’s Proprietary Information

without Sarnoff’s knowledge or consent.

               106.    Sarnoff has continued to honor its confidentiality obligations under the

various agreements in spite of Hanna’s breaches.
               107.    As a direct and proximate result of Hanna’s breaches of confidentiality

and usage of Sarnoff’s Proprietary Information, Sarnoff has been and will continue to be

damaged unless and until this Court orders Hanna specifically to honor his confidentiality

obligations under the various agreements.

       FOURTH COUNT - BREACH OF DUTY OF LOYALTY AGAINST HANNA




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               108.    Sarnoff repeats and realleges the allegations set forth in Paragraphs 1

through 107 of this Complaint, as if set forth fully at length herein.

               109.    During his employment with Sarnoff, Hanna owed fiduciary duties and

duties of loyalty to Sarnoff. These duties encompassed, among other things, the duty not to

misuse or disclose Sarnoff’s Proprietary Information.           Moreover, these fiduciary duties

continued even after the employee relationship terminated to the extent of obligating Hanna not

to disclose or use Sarnoff’s Proprietary Information.

               110.    Hanna has breached his duty of loyalty to Sarnoff by, among other things,

using and disclosing Sarnoff’s Proprietary Information and trade secrets.

               111.    Hanna continues to actively wrongfully use and disclose Sarnoff’s

Proprietary Information and trade secrets, and, unless enjoined by this Court, will continue to use

and disclose Sarnoff’s Proprietary Information and trade secrets for his own benefit and to

Sarnoff’s detriment.

               112.    Sarnoff has suffered and will continue to suffer irreparable harm and

financial loss as a result of this conduct, unless Hanna is enjoined from this conduct.

               113.    Sarnoff is also entitled to compensatory and punitive damages for Hanna’s

wrongful, intentional, and malicious conduct in an amount to be determined at trial.

             FIFTH COUNT – MISAPPROPRIATION OF TRADE SECRETS
                         AGAINST ALL DEFENDANTS
               114.    Sarnoff repeats and realleges the allegations set forth in Paragraphs 1

through 113 of this Complaint, as if set forth fully at length herein.

               115.    Sarnoff’s Proprietary Information consists of confidential information

regarding designs, algorithms, software, hardware, and other intellectual property used in its

IOM technology. Because the Proprietary Information is not generally known to the public or to


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other persons, it gives Sarnoff an advantage over its competitors, and has tremendous economic

value to Sarnoff. Sarnoff has gone to great lengths to maintain the secrecy of its Proprietary

Information, including executing confidentiality agreements with all third parties and employees

to whom it plans to provide such Proprietary Information. In light of the foregoing, Sarnoff’s

Proprietary Information constitutes trade secrets.

               116.    Pursuant to the various agreements between the Hoyos Companies and

Sarnoff, Defendants were privy to and had access to Sarnoff’s trade secrets. In addition, Hanna

was also privy to and had access to Sarnoff’s trade secrets as a Sarnoff employee.

               117.    Upon information and belief, Defendants have knowingly misappropriated

and disclosed Sarnoff’s trade secrets, including impermissibly incorporating such trade secrets

into the H-Box.

               118.    By reason of the foregoing acts and conduct of Defendants, Sarnoff will

suffer irreparable harm and damage, which damage will be difficult to ascertain, and Sarnoff will

be without an adequate remedy at law.

               119.    Sarnoff is entitled to an injunction restraining Defendants, and all persons

or entities acting in concert with them, from engaging in further such unlawful acts and from

reaping any additional commercial advantage from their misappropriation of Sarnoff’s trade

secrets.

               120.    Sarnoff is further entitled to recover from Defendants the damages

sustained by it as a result of Defendants’ wrongful acts as hereinabove alleged. The amount of

such damages cannot be determined at this time. Sarnoff is further entitled to recover from

Defendants the gains, profits, advantages, and unjust enrichment they have obtained as a result of




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their wrongful acts as hereinabove alleged. Sarnoff is at present unable to ascertain the full

extent of these gains, profits, advantages, and unjust enrichment obtained by Defendants as a

result of their wrongful acts.

               121.    Defendants’ acts of misappropriation were both willful and malicious, and

therefore Sarnoff is entitled to punitive damages against Defendants.

             SIXTH COUNT - TORTIOUS INTERFERENCE WITH
      PROSPECTIVE ECONOMIC ADVANTAGE AGAINST ALL DEFENDANTS
               122.    Sarnoff repeats and realleges the allegations set forth in Paragraphs 1

through 121 of this Complaint, as if set forth fully at length herein.

               123.    Sarnoff has a reasonable expectation of prospective economic advantage

with a number of third parties, including L-1, with respect to its IOM System and the Tier-2

Product.

               124.    Upon information and belief, Defendants have wrongfully, intentionally,

and maliciously interfered with Sarnoff’s prospective economic advantage under the IOM

System and Tier-2 Product lines by, among other things, making false statements to various third

parties, including L-1, that the Hoyos Companies owned rights in and to the Tier-2 Product and

that any transaction between Sarnoff and a third party with respect to the Tier-2 Product could

not be completed without the participation of the Hoyos Companies.

               125.    Upon information and belief, Sarnoff has suffered losses through

Defendants’ wrongful, intentional, and malicious interference, including the loss of a three

million dollar contract with L-1, and will continue to be damaged unless and until the Court

enjoins Defendant’s improper conduct.




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           SEVENTH COUNT – CONVERSION AGAINST ALL DEFENDANTS

               126.    Sarnoff repeats and realleges the allegations set forth in Paragraphs 1

through 125 of this Complaint, as if set forth fully at length herein.

               127.    Defendants’ wrongful retention and use of Sarnoff’s Proprietary

Information constitutes conversion of Sarnoff’s property.

               128.    As a result of this misconduct, Sarnoff has suffered, and will continue to

suffer, irreparable harm and financial loss, unless it receives injunctive relief.

               129.    Defendants’ actions were willful, intentional, and malicious, entitling

Sarnoff to compensatory and punitive damages in an amount to be determined at trial.

           EIGHTH COUNT – FEDERAL FALSE DESIGNATION OF ORIGIN
                     AGAINST THE HOYOS COMPANIES
               130.     Sarnoff repeats and realleges the allegations set forth in Paragraphs 1

through 129 of this Complaint, as if set forth fully at length herein.

               131.    The Hoyos Companies have violated Section 43 of the Lanham Act, 15

U.S.C. § 1125(a)(1)(A), by expressly and impliedly making false designations or representations

of origin when they released, distributed, advertised, marketed, sold, and offered for sale the H-

Box as a Hoyos Companies’ product, even though the H-Box is based upon and incorporates the

proprietary intellectual property and IOM technology of Sarnoff.

               132.    Upon information and belief, the Hoyos Companies have intentionally and

knowingly engaged in the foregoing conduct in order to cause confusion and deception of the

consuming public by falsely and fraudulently suggesting and representing by the aforesaid

conduct that the H-Box and the IOM technology incorporated therein are the property of the

Hoyos Companies, when in fact, the Tier-2 Product—on which the H-Box is based—and the

IOM technology are the property of Sarnoff.


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               133.    Based on the Hoyos Companies’ actions, the public is likely to be

confused as to the source and origin of the H-Box, the Tier-2 Product, and IOM technology, and,

upon information and belief, the public has been, and will continue to be misled.

               134.    As a direct and proximate result of the aforesaid wrongful acts of the

Hoyos Companies, Sarnoff has been damaged and the Hoyos Companies have made profits in an

amount to be determined at trial.

               135.    Sarnoff is entitled, pursuant to 15 U.S.C. § 1117(a), to three times the

Hoyos Companies’ profits from the H-Box or three times Sarnoff’s damages, whichever is

greater, plus reasonable attorneys’ fees and the costs of suit.

                    NINTH COUNT – FEDERAL FALSE ADVERTISING
                         AGAINST THE HOYOS COMPANIES
               136.    Sarnoff repeats and realleges the allegations set forth in Paragraphs 1

through 135 of this Complaint, as if set forth fully at length herein.

               137.    The Hoyos Companies have publicly announced to consumers that the H-

Box and the IOM technology incorporated therein are the property of the Hoyos Companies,

when, in fact, the H-Box is based upon Sarnoff’s proprietary Tier-2 Product and Sarnoff is the

sole and exclusive owner of the IOM technology.

               138.    The Hoyos Companies’ public announcements are false and misleading

and constitute false and misleading descriptions and misrepresentations of fact, in violation of

Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)(1)(B).

               139.    As a direct and proximate result of the aforesaid wrongful acts of the

Hoyos Companies, Sarnoff has been damaged and the Hoyos Companies have made profits in an

amount to be determined at trial.




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                 140.   Sarnoff is entitled, pursuant to 15 U.S.C. § 1117(a), to three times the

Hoyos Companies’ profits from the H-Box or three times Sarnoff’s damages, whichever is

greater, plus reasonable attorneys’ fees and the costs of the suit

  TENTH COUNT – UNFAIR COMPETITION AND FALSE ADVERTISING UNDER
  TITLE 56:4-1 OF THE NEW JERSEY CODE AGAINST THE HOYOS COMPANIES
                 141.   Sarnoff repeats and realleges the allegations set forth in Paragraphs 1

through 140 of this Complaint, as if set forth fully at length herein.

                 142.   The Hoyos Companies aforesaid conduct constitutes unfair, unlawful, and

fraudulent business practices in violation of N.J. Stat. Ann. § 56:4-1.

                 143.   These wrongful acts have proximately caused and continue to cause

Sarnoff substantial injury, including loss of customers, dilution of its goodwill, confusion of

potential customers, injury to its reputation, and diminution in the value of Sarnoff’s Proprietary

Information. These actions will cause imminent irreparable harm and injury to Sarnoff, the

amount of which will be difficult to ascertain, if they continue. Sarnoff is without an adequate

remedy at law.

                 144.   Sarnoff is entitled to an injunction restraining the Hoyos Companies, and

all persons or entities acting in concert with them, from engaging in further such unlawful

conduct.

                 145.   Sarnoff is entitled to recover from the Hoyos Companies the damages

sustained by it as a result of the Hoyos Companies’ wrongful acts as hereinabove alleged. The

amount of such damages cannot be determined at this time. Sarnoff is further entitled to recover

from the Hoyos Companies the gains, profits, and advantages they have obtained as a result of

their wrongful acts as hereinabove alleged. Sarnoff is at present unable to ascertain the full

extent of these gains, profits, and advantages, but Sarnoff is informed and believes and based



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thereon alleges that the Hoyos Defendants have obtained such gains, profits, and advantages in

an amount thus far undetermined.

               146.    The conduct of the Hoyos Companies was and is fraudulent, oppressive,

malicious, and in conscious disregard of the rights of Sarnoff, and Sarnoff is therefore entitled to

punitive damages against the Hoyos Companies.

   ELEVENTH COUNT – FRAUD AND MISREPRESENTATION IN CONNECTION
   WITH SALE OF MERCHANDISE UNDER TITLE 56:8-2 OF THE NEW JERSEY
                CODE AGAINST THE HOYOS COMPANIES
               147.    Sarnoff repeats and realleges the allegations set forth in Paragraphs 1

through 146 of this Complaint, as if set forth fully at length herein.

               148.    The Hoyos Companies have publicly announced to consumers that the H-

Box and the IOM technology incorporated therein are the property of the Hoyos Companies,

when, in fact, the H-Box is based upon Sarnoff’s proprietary Tier-2 Product and Sarnoff is the

sole and exclusive owner of the IOM technology.

               149.    Upon information and belief, the Hoyos Companies have made such

knowingly false statements on numerous occasions, including, for example, at the ISC West

Show in Las Vegas on March 28-30, 2007.

               150.    The Hoyos Companies have used and employed such unconscionable

commercial practices, deception, fraud, false pretenses, misrepresentations, and/or the knowing

concealment, suppression, or omission of material facts, with the intent that others would rely

upon such concealment, suppression, or omission, in connection with the sale and advertisement

of merchandise, in violation of Title 56:8-2 of the New Jersey Code.




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           TWELFTH COUNT – COMMON LAW UNFAIR COMPETITION, FALSE
            ADVERTISING, UNJUST ENRICHMENT, AND MISAPPROPRIATION
                        AGAINST THE HOYOS COMPANIES
               151.    Sarnoff repeats and realleges the allegations set forth in Paragraphs 1

through 150 of this Complaint, as if set forth fully at length herein.

               152.    The Hoyos Companies’ wrongful public claims of ownership to the Tier-2

Product and the IOM technology and their unauthorized use of Sarnoff’s Proprietary

Information, trade secrets, and intellectual property in designing the H-Box constitutes common

law unfair competition, unjust enrichment, and misappropriation by which Sarnoff has been

damaged and will continue to be damaged.


                                    DEMAND FOR RELIEF
               WHEREFORE, Sarnoff respectfully request that this Court enter judgment in its

favor on each and every claim for relief set forth above and award it relief including, without

limitation, the following:

                       1.      A declaration that Sarnoff’s production, use, or sale of Sarnoff’s

Tier-2 Product or the IOM System does not infringe on any patents that may be owned by the

Hoyos Companies.

                       2.      A declaration that no Hoyos Copyrights are infringed by Sarnoff’s

production, use, or sale of Sarnoff’s Tier-2 Product or the IOM System.

                       3.      An injunction prohibiting Defendants from using or disclosing, in

any manner whatsoever, Sarnoff’s confidential and/or Proprietary Information and/or trade

secrets;

                       4.      An injunction prohibiting Defendants from interfering with

Sarnoff’s prospective economic advantage;

                       5.      An injunction prohibiting Hanna from breaching his duty of


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loyalty to Sarnoff;

                       6.      An injunction prohibiting Defendants from otherwise unfairly

competing with Sarnoff;

                       7.      An injunction prohibiting Defendants from making false and

misleading statements about the ownership of the Tier-2 Product, the IOM System, or the IOM

technology;

                       8.      An injunction prohibiting Defendants from assisting, aiding, or

abetting any other person or business entity in engaging in any of the activities referred to in this

Demand for Relief Paragraphs (4) through (8) above;

                       9.      An Order directing Defendants to return to Sarnoff all originals

and copies of any documents, whether in hard copy or computerized or electronic media form,

which contain Sarnoff’s confidential and/or Proprietary Information and/or trade secrets;

                       10.     Upon the return of the foregoing confidential, proprietary, and/or

trade secret information, directing Defendants to execute an Affidavit, under oath and subject to

all appropriate penalties, stating that neither the Defendants, nor any persons acting in concert

with them, have the original or any copies of the foregoing confidential, proprietary and/or trade

secret information in their possession, custody or control;

                       11.     A finding that Defendants have breached their contractual

confidentiality obligations to Sarnoff;

                       12.     A finding that Hanna has breached his duty of loyalty owed to

Sarnoff;

                       13.     A finding that Defendants have misappropriated Sarnoff’s trade

secrets;




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                      14.       A finding that the Hoyos Companies have committed unfair,

unlawful, and fraudulent business practices;

                      15.       A finding that Defendants have tortiously interfered with Sarnoff’s

prospective economic advantage with third-parties, including potential customers;

                      16.       A finding that Defendants have converted Sarnoff’s property;

                      17.       A finding that the Hoyos Companies have falsely designated the

origin of its H-Box, falsely advertised its H-Box, and made misrepresentations in connection

with the sale of merchandise;

                      18.       A finding that the Hoyos Companies have been unjustly enriched

at the expense of Sarnoff;

                      19.       An    award    granting   Sarnoff   monetary     relief,   including

compensatory, punitive, and exemplary damages; the costs of the action; and treble damages

pursuant to all applicable laws, including 15 U.S.C. § 1117;

                      20.       An award granting Sarnoff attorneys’ fees in this action pursuant to

applicable laws, including 15 U.S.C. § 1117;

                      21.       An order directing that the Hoyos Companies account for all gains,

profits, and advantages derived from their improper acts and for their other violations of law;

                      22.       Pre-judgment and post-judgment interest on all amounts awarded

pursuant to applicable laws; and

                      23.       Such other and further relief as the Court may deem just and

proper.

                                         JURY DEMAND

               Sarnoff hereby demands a trial by jury on all issues triable by a jury.




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May 14, 2008                       /s/_David Leit______________________________
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